Case 1:11-cv-05845-LTS Document 602-81 Filed 11/17/23 Page 1 of 5




 EXHIBIT6
       Case 1:11-cv-05845-LTS Document 602-81 Filed 11/17/23 Page 2 of 5




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 Mark Nunez, et al.,
                         Plaintiffs,

           -against-                                           Case No. 11-cv-5845 (LTS)(JCF)

 The City of New York, et al.,

                         Defendants.


                             DECLARATION OF ANDRE BROWN
       ANDRE BROWN, declares under penalty of perjury, pursuant to 28 U.S.C. § 1746, that

the following is true and correct:

      1.         I make this declaration in support of Plaintiffs’ Motion for Contempt and

Receivership filed in this case, Nunez, et al. v. City of New York, et al., 11-cv-5845.

      2.         I am 20 years old. I was arrested on September 20, 2022, and I have been in the

custody of the New York City Department of Correction ever since.

      3.         On August 14, 2023, I was incarcerated in 4 Lower South, a housing area in the

Robert N. Davoren Complex (“RNDC”). I was produced for a court appearance that day. After I

returned from court and arrived back in my housing area, I called my mom and spoke to her on

the phone. I then decided to go inside my cell, which was number 18 and on the left side of the

tier. It was about 30 minutes before lock-in time. Lock-in time, which was around 8:40 p.m., is

when we are locked in our cells for the night.

      4.         Because the door to my cell was locked when I wanted to go in before lock-in

time, I could not go into the cell without the assistance of a Correction Officer (CO) who could

unlock the door.
           Case 1:11-cv-05845-LTS Document 602-81 Filed 11/17/23 Page 3 of 5




        5.      There were two COs working in our housing unit at that time. One CO was on the

floor and the other was in the bubble. I do not know their names.

        6.      To get the door of my cell open so that I could enter, I walked past the CO on the

floor and told him that I wanted to get in. That CO was sitting at a desk in front of the bubble,

which was located about two cells away from my cell and was also on the left side of the tier.

        7.      That CO at the desk told the CO in the bubble to “buzz” my cell, which means

open the door using the button inside the bubble that can unlock the cell from there.

        8.      Right after I asked, my cell door was opened, and I walked inside. Two other

incarcerated people, who I had not noticed before I had entered my cell, followed my path and

ran into my cell behind me. They had to have passed the CO on the floor as they approached my

cell.

        9.      These two other incarcerated people closed my cell door, and it locked behind us,

which it does automatically. I think the CO in the bubble could have seen them enter since I have

observed that the video footage from the cameras outside my cell is displayed in the bubble

station.

        10.     The two men immediately started assaulting me. One had a razor blade and

plexiglass; one had plexiglass. They used the weapons to repeatedly stab and slash me in my

back, neck, arm, shoulder, and ear. They also slammed me against the wall and radiator, hurting

my knee and elbow. I think other people nearby could hear what was going on inside my cell.

This is because the cell walls are thin, and I can hear what is going on in other people’s cells.

        11.     During the attack, the attackers were trying to corner me and keep me away from

my cell door so that I could not escape. I tried to focus on fighting back and trying to protect
          Case 1:11-cv-05845-LTS Document 602-81 Filed 11/17/23 Page 4 of 5




myself. The attack felt like it lasted a long time. The attack stopped after I yelled “buzz my cell”

and banged on the cell door, and my cell door was opened.

          12.   After my cell door opened, the CO on the floor held OC spray in my face. I said

something like, “Why are you going to spray me if I’m the victim,” and the CO did not spray me.

An officer must have called for security because security arrived and escorted me to the medical

clinic.

          13.   When I got to the clinic, my adrenaline started to calm down, and I finally felt the

pain that I was in. I was in so much pain that my body stiffened. I could not move, and I felt

dizzy. Then, EMS was called, and I was driven to Elmhurst Hospital in an ambulance. I had at

least a dozen stab wounds and multiple lacerations. I had to get stitches all over my body, and

two staples in my head. My earlobe was close to being detached and had to be repaired by a

plastic surgeon.

          14.   I feel daily lower back aches. This pain started after the attack in my cell.

          15.   I have never felt safe at Rikers because this was not the first time I got assaulted

while there. The first time was when I was 18 years old. I still have a scar on my forehead from

that assault. I feel even less safe since the attack in my cell earlier this year. I feel like I can’t

trust anybody. I feel nervous around other people, and I sometimes have trouble sleeping. I can’t

get the incident out of my head. I think about it the most when I am alone in my cell.
Case 1:11-cv-05845-LTS Document 602-81 Filed 11/17/23 Page 5 of 5
